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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION

 X CORP.,
                      Plaintiff,

             v.
                                                      Civil Action No. 4:23-cv-01175-O
 MEDIA MATTERS FOR AMERICA,
 et al.,
             Defendants.



                          DECLARATION OF ANGELO CARUSONE


        I, Angelo Carusone, declare as follows:

        1.        I am over the age of 18, am competent to testify, and have personal knowledge of

the facts and information set forth in this declaration.

        2.        I am the CEO and President of Media Matters for America (“Media Matters”). I

have served in my current role since December 2016.

        3.        Based in the District of Columbia, Media Matters is a web-based, not-for-profit,

501(c)(3) research and media organization dedicated to comprehensively monitoring, analyzing,

reporting on, and exposing misinformation in the U.S. media ecosystem.

        4.        This work includes documenting misinformation andextremism—including white

nationalism, antisemitism, and similar bigotry—in the public square, including from public figures

and officials.

        5.        Media Matters’s research and reporting has elicited intense animosity from a

variety of individuals. It is increasingly common for people who oppose our reporting to respond

with harassment and threats of physical violence against Media Matters employees and donors.



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       6.      For example, in June 2024, in response to one of Media Matters’s posts on X

highlighting our reporting on calls for the deportation of the judge who oversaw Donald Trump’s

criminal trial in New York, an X user replied: “And you fuckers are next! Coming for you

soon..retribution will be swift and harsh. #FuckMediaMatters.”1

       7.      Following Elon Musk’s November 18, 2023 post on X threatening Media Matters

with a “thermonuclear” lawsuit, and the subsequent filing of that suit, I have witnessed a stream

of additional harassment and threats aimed at Media Matters.

       8.      For example, after the lawsuit was filed, Eric Hananoki received harassing and

threatening messages online to both his professional and personal email and social media accounts,

including on X.2 Those messages included profanity, racism, and in one instance an image of a

noose alongside a message stating: “I hope Elon sues the absolute ass out of you shameless hacks

for this and it looks like he will be. Hope it was worth it.”3

       9.      Mr. Hananoki also received messages via Facebook messenger and email,

threatening: “PEDOPHILE FUCK WE HAVE ALL THE DOCUMENTS ON YOUR SORRY

ASS” and “You’re so fucked Eric! Elon is coming for you.”




1
  https://x.com/maddog0477/status/1798739407417250162 [https://perma.cc/8H74-KR2H].
2
  These include racist and antisemitic posts. See, e.g.,
https://x.com/Herlock1227646/status/1728195547943563704 [https://perma.cc/CRN8-WHG5];
https://x.com/jimbobtson/status/1793710192955396122          [https://perma.cc/QDR4-NP7V];
https://x.com/HerbalMercy/status/1726041846961394046 [https://perma.cc/A5FW-W986].
3
  https://x.com/PotatoForeskins/status/1726290138312155338 [https://perma.cc/K3T4-JCYR].


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  Redacted




                     Redacted




             10.   Another Media Matters staffer has been the target of similar harassment. For

example, on November 19, 2023, someone sent the staffer a photograph of the staffer and his wife

with the threatening message: “We know where you live. Expect a visit.”

             11.   Given these threats to Mr. Hananoki, the other staffer, and their families, Media

Matters reimbursed them for the purchase and installation of security measures at their homes.

             12.   This harassment has also been directed at Media Matters as an organization. On

November 21, 2023, Media Matters received the following email, threatening: “[We] know where




                                                   3
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your offices are at. We’re coming for you keep looking over your shoulder.”

                     Redacted


                              Redacted




        13.      On or around November 30, 2023, Media Matters received two voicemails

referencing this lawsuit and threatening physical harm at our office. Certified transcripts of these

voicemails are attached as Exhibit A and Exhibit B.

        14.      The first voicemail threatened: “Oh, you guys pissed off the wrong people this time.

. . . Hopefully it’s just the lawsuit, but you should all be really careful. I don’t know this for sure.

I just hear a lot of shit. . . . I think you should just shut the fuck up. That would be a smart thing to

do. . . . I would be careful if I were you. . . . I think if you keep pushing it things will get to a point

where there will be violence. And I think you’re right near the top of the list for the baddest fucking

motherfuckers on this continent. . . . I mean boy, God I wish, fuck, you guys had the balls. I wish

you’d just go in the boxing rink [sic], in the octagon. Fucking rip you apart, make you cry like a

little bitch. . . .” Ex. A.

        15.      The second threatened: “You folks up there in Washington at Media Matters, you

do know what goes around comes around. The stuff you’re trying to feed Americans like myself

is really, really gonna come back and bite you in the ass. And I may be one of the people that you

really don’t want to come up and visit your offices.” Ex. B.

        16.      On November 21, 2023, one X user replied to a post from the Media Matters

account by saying: “Media matter’s, a fascist Nazi Hitler loving group that makes the KKK look




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like boy scout’s, we’re coming for you.”4

       17.        And, immediately after Texas Attorney General Ken Paxton announced his

investigation into Media Matters (which Paxton has admitted is based entirely on the allegations

in X’s complaint), Mr. Musk posted Paxton’s announcement, and another X user responded to the

post from Mr. Musk saying: “Fuck you @mmfa. . . . #pizzagate never concluded. We are coming

for you, we never forgot, and we will never forgive.”5

       18.        To protect our employees, Media Matters contracted with a firm to place security

guards at the reception of our D.C. office from January to March 2024 when these threats spiked.

       19.        The harassment has not gone away. On May 23, 2024, after a former Media Matters

employee posted on X about our reduction in force and encouraged other employers to consider

hiring her laid-off colleagues, X users responded with vitriolic replies, such as: “I’m starting a

woodchipper manufacturing company and need some testers, and I think your colleagues would

be qualified.”6

       20.        And on July 27, 2024, that former Media Matters employee posted a 42-second

video scrolling through an email that she had received filled with hateful language and conspiracy




4
  https://x.com/HamblyWes/status/1726917694510039168 [https://perma.cc/7CUV-NT8H].
5
    https://x.com/ayexern/status/1726927720121286675 [https://perma.cc/GYE3-9BY2]. The
reference to “pizzagate” refers to a revived conspiracy theory—boosted in late 2023 by Mr.
Musk—that culminated in a man opening fire on a Washington, DC pizza restaurant. See
https://www.nbcnews.com/tech/tech-news/elon-musk-boosted-pizzagate-conspiracy-theory-
rcna127087;        https://www.nbcnews.com/news/us-news/pizzagate-gunman-surrendered-after-
finding-no-evidence-fake-conspiracy-court-n692321.
6
  https://x.com/IBeBibby/status/1793734862014230622 [https://perma.cc/NL5D-665H].




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theories.7

        21.     Similarly, X users responded to the news of Media Matters’s layoffs with responses

like: “Propagandists only last so long” and “It’s fortunate that these propagandists live today: when

Stalin fired his propagandists he usually told a firing squad to do the firing.”8

        22.     Just last week, for example, Media Matters received an email stating, “Looks like

I can track your funding. Home addresses and bank accounts are next. Welcome to the internet.

It’s either online or you cunts will be hunted down. Every employee at, media matters is considered

an enemy to the USA and will be executed. . . . WAR is what you rats get.”




        23.     The harassment and threats aimed at Media Matters and its employees have also

been directed at Media Matters’s donors.

        24.     One of my responsibilities is to lead Media Matters’s fundraising efforts.

Consequently, I interact closely with donors and potential donors to solicit contributions, and I

regularly hear their concerns about harassment and threats aimed at individuals who associate with

Media Matters.

        25.     After the Free Beacon publicized in January 2024 an alleged “leaked donor list” of

Media Matters’s “five largest contributors”—and after Elon Musk reposted the list9—X users


7
  https://x.com/abughazalehkat/status/1817334178968723903 [https://perma.cc/CH7M-P5D4].
8
      https://x.com/activity_no/status/1794040139959742535             [https://perma.cc/7JDC-ZAX4;
https://perma.cc/K6CS-TPA2].
9
  I am not including links to threats related to these posts to avoid attracting further attention to the
targeted individuals.


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posted an avalanche of harassing and threatening messages aimed at Media Matters and these

donors.

          26.   For example, one user posted a picture of Mr. Musk firing a .50 caliber weapon and

edited the photo to look like Mr. Musk was shooting at Media Matters’s logo:




          27.   Other X users posted antisemitic harassment aimed at individuals identified in the

leak, including posts stating:

                   a. “Democratic mega donors? They’re all Jewish mega donors”

                   b. “Lots of Jewish sounding names, sure it’s just a cohencidence”


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                   c. “Self-destructing Jews. More modern conveniences…”

                   d. “It’s a Jewish central banking operation that prints unlimited money for it’s

                       agents to control the world...they have no merit, only unlimited access to

                       money to buy everyone and everything...scam unmasked...”

                   e. “All Jewish donors . . . it explains why media matters went after Elon Musk”

                   f. “Jews everywhere you go and there are nefarious, degenerate things are

                       happening. I’m noticing…”

                   g. “Just further proof the Jews own the media dedicated to tearing our country

                       apart”

                   h. “Three of the donor’s foundations were started by Jews . . . one is a gay

                       rights activist . . . and the other is a foundation started by Warren Buffett’s

                       deceased wife. . . . Is anyone shocked that this is the makeup of the group?”

       28.     Several posts listed the names of the five alleged donors along with their perceived

religious identities or sexual orientations, and hurled antisemitic and anti-LGBTQ epithets.

       29.     X users also posted calls for arrests, treason trials, and the “death penalty” of the

donors, including posts stating:

                   a. “It’s time for trials for treason and crimes against humanity. I want to see

                       the death penalty served on all of them.”

                   b. “Tribunals in GITMO to save America!”

                   c. “Each one of them need to be arrested.”

                   d. “These people are treasonous and should face the full extent of the law.”

                   e. “You pedophiles won’t be roaming free for too long. Prepare for prison.”

                   f. “Time to fight back. Arrest them all. Hold them without bail for months in




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                        jail.”

                    g. “Another sad and sickening attempt to censor and misinform. Time for real

                        penalties against these traitors.”

                    h. “TRAITORS ☠️☠️        ”

                    i. “Evil TACTICS, EVIL PEOPLE! HOW CAN THEY EVEN SLEEP AT

                        NIGHT?? . . . THEY DESERVE AVICI[] HELL.”

                    j. “Then, of course, there’s that pesky little issue about campaign finance

                        laws....some somebody’s going to prison.....some somebody’s worse than

                        prison. And then there's that little Trump EO13818 thingy.....”

                    k. “I curse your family lineage for two hundred million years of pain and

                        suffering. Palabra de Dios”

        30.     As is clear, Media Matters and its donors face a hyper-charged, vitriolic

environment where countless individuals threaten the safety of Media Matters’s staff, donors, and

their families as soon as their identities are revealed.

        31.     While Media Matters takes several steps to protect the physical safety of the Media

Matters employees working in our Washington, D.C. office, it is impossible for us to provide

similar protections to donors across the country. Instead, many donors depend for their safety on

their association with and financial support for Media Matters remaining anonymous.

        32.     Unsurprisingly, several donors and potential donors have expressed concerns for

their own privacy and personal safety because of this litigation and the anger it appears to inspire

on social media, especially on X.

        33.     Cash flows to MMFA have already been affected by the threats and risks

associated with the potential that some donors’ identities will be disclosed because of this



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litigation.

        34.    If the identities of Media Matters’s donors are disclosed, it is virtually certain, based

on the examples catalogued here and other similar experiences, that the identified donors would

be victims of vitriolic threats to their own safety and that of their family members. While I can and

do ask supporters across the country to share their financial resources to support Media Matters’s

mission, that will become increasingly harder if X’s motion is granted because of their clear

vulnerability to harassment and threats.

        35.    Given the nature and origination of many of the threats, donors would likely

discontinue their support for and affiliation with Media Matters if they expected their identities

could be shared with X. Disclosure will also make it harder for Media Matters to recruit new

donors and to convert prospects into supporters.



        Under 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and

correct.
                                                              9/6/2024
                                               Executed on: _______________________________



                                               __________________________________________
                                               Angelo S. Carusone




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